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     Attorneys for Plaintiff
11   LAURI VALJAKKA
12

13
                               IN THE UNITED STATES DISTRICT COURT
14
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15

16                                          OAKLAND DIVISION

17

18
      LAURI VALJAKKA,                                      Case No.: 4:22-cv-01490-JST
19
                                  Plaintiff,               PLAINTIFF’S THIRD AMENDED
20        v.                                               COMPLAINT
21
      NETFLIX, INC.,                                       DEMAND FOR JURY TRIAL
22
                               Defendant.
23

24

25
               Plaintiff Lauri Valjakka (“Lauri” or “Plaintiff”), files this Third Amended Complaint for
26
     Patent Infringement against Netflix, Inc. (“Netflix” or “Defendant”), and would respectfully
27

28   show the Court as follows:


                                                       1

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1                                                  PARTIES
2            1.      Plaintiff is a citizen of Finland having an address located at Valtakatu 51,
3
     Vapaudenaukio Technopolis 2, 53100 Lappeenranta, Finland.
4
             2.      On information and belief, Defendant is a Delaware corporation with a principal
5
     address of 100 Winchester Cir., Los Gatos, CA 95032.
6

7            3.      On information and belief, Defendant directly and/or indirectly develops,

8    designs, manufactures, distributes, markets, offers to sell and/or sells infringing products and
9
     services in the United States, including in the Northern District of California, and otherwise
10
     directs infringing activities to this District in connection with its products and services.
11
                                               JURISDICTION
12

13           4.      This civil action arises under the Patent Laws of the United States, 35 U.S.C. § 1

14   et seq., including without limitation 35 U.S.C. §§ 271, 281, 283, 284, and 285 based on
15
     Defendant's unauthorized commercial manufacture, use, importation, offer for sale, and sale of
16
     the Accused Products in the United States. This is a patent infringement lawsuit over which this
17
     Court has subject matter jurisdiction under, inter alia, 28 U.S.C. §§ 1331, 1332, and 1338(a).
18

19           5.      This United States District Court for the Northern District of California has

20   general and specific personal jurisdiction over Defendant because, directly or through
21
     intermediaries, Defendant has committed acts within the District giving rise to this action and
22
     are present in and transact and conduct business in and with residents of this District and the
23
     State of California.
24

25           6.      Plaintiff’s causes of action arise, at least in part, from Defendant’s contacts with

26   and activities in this District and the State of California.
27

28


                                                        2

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1           7.        Defendant has committed acts of infringing the patents-in-suit within this District
2    and the State of California by making, using, selling, offering for sale, and/or importing in or
3
     into this District and elsewhere in the State of California, products claimed by the patents-in-
4
     suit, including without limitation products made by practicing the claimed methods of the
5
     patents-in-suit. Defendant, directly and through intermediaries, makes, uses, sells, offers for
6

7    sale, imports, ships, distributes, advertises, promotes, and/or otherwise commercializes such

8    infringing products into this District and the State of California. Defendant regularly conducts
9
     and solicits business in, engages in other persistent courses of conduct in, and/or derives
10
     substantial revenue from goods and services provided to residents of this District and the State
11
     of California.
12

13          8.        This Court has personal jurisdiction over Defendant. Personal jurisdiction exists

14   over Defendant because Defendant has minimum contacts with this forum as a result of
15
     business regularly conducted within the State of California and within this district, and, on
16
     information and belief, specifically as a result of, at least, committing the tort of patent
17
     infringement within California and this District. This Court has personal jurisdiction over
18

19   Defendant, in part, because Defendant does continuous and systematic business in this District,

20   including by providing infringing products and services to the residents of the Northern District
21
     of California that Defendant knew would be used within this District, and by soliciting business
22
     from the residents of the Northern District of California. Also, Defendant has hired and is hiring
23
     within this District for positions that, on information and belief, relate to infringement of the
24

25   patents-in-suit. Accordingly, this Court’s jurisdiction over the Defendant comports with the

26   constitutional standards of fair play and substantial justice and arises directly from the
27
     Defendant’s purposeful minimum contacts with the State of California.
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                                                       3

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1            9.       This Court also has personal jurisdiction over Defendant, because in addition to
2    Defendant’s own online website and advertising with this District, Defendant has also made its
3
     products available within this judicial district and advertised to residents within the District to
4
     hire employees to be located in this District.
5
             10.      The amount in controversy exceeds $75,000 exclusive of interests and costs.
6

7            11.      Venue is proper in this Court under 28 U.S.C. § 1400(b) based on information

8    set forth herein, which is hereby repeated and incorporated by reference. Further, upon
9
     information and belief, Defendant has committed acts of infringement, and/or does advertise,
10
     market, sell, and/or offer to sell products, including infringing products, in this District. In
11
     addition, and without limitation, Defendant has regular and established places of business
12

13   throughout this District.

14
                                         THE PATENTS-IN-SUIT
15

16           12.      On July 23, 2013, United States Patent No. 8,495,167 (“the ‘167 Patent”),

17   entitled “Data Communications Networks, Systems, Methods and Apparatus” was duly and
18   legally issued by the United States Patent and Trademark Office (“USPTO”). The ‘167 Patent
19
     claims patent- eligible subject matter and is valid and enforceable. Lauri is the exclusive owner
20
     by assignment of all rights, title, and interest in the ‘167 Patent, including the right to bring this
21

22   suit for damages, and including the right to sue and recover all past, present, and future damages

23   for infringement of the ‘167 Patent. Defendant is not licensed to the ‘167 Patent, either
24   expressly or implicitly, nor do they enjoy or benefit from any rights in or to the ‘167 patent
25
     whatsoever. A true and correct copy of the ‘167 patent is attached hereto as Exhibit A.
26
             13.      On July 28, 2020, United States Patent No. 10,726,102 (“the ‘102 Patent”),
27

28   entitled “Method Of and System For Providing Access to Access Restricted Content to a User”


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1    was duly and legally issued by the United States Patent and Trademark Office (“USPTO”). The
2    ‘102 Patent claims patent-eligible subject matter and is valid and enforceable. Lauri is the
3
     exclusive owner by assignment of all rights, title, and interest in the ‘102 Patent, including the
4
     right to bring this suit for damages, and including the right to sue and recover all past, present,
5
     and future damages for infringement of the ‘102 Patent. Defendant is not licensed to the ‘102
6

7    Patent, either expressly or implicitly, nor do they enjoy or benefit from any rights in or to the

8    ‘102 patent whatsoever. A true and correct copy of the ‘102 patent is attached hereto as Exhibit
9
     B.
10
              14.      The ‘167 Patent and the ‘102 Patent are referred to herein as the “patents-in-
11
     suit.”
12

13            15.      Plaintiff Lauri is the owner of the entire right, title, and interest in and to the

14   patents-in-suit. The patents-in-suit are presumed valid under 35 U.S.C. § 282.
15

16                                   ACCUSED INSTRUMENTALITIES

17            16.      The term “Accused Instrumentalities” or “Accused Products” refers to, by way
18   of example and without limitation, Netflix’s Open Connect program and Netflix websites (e.g.
19
     https://www.netflix.com).
20
                                                     COUNT I
21

22                          PATENT INFRINGEMENT OF THE ‘167 PATENT

23            17.      Plaintiff restates and realleges the preceding paragraphs of this Complaint as if
24   fully set forth herein.
25
              18.      Defendant has, under 35 U.S.C. §271(a), directly infringed, and continues to
26
     directly infringe, literally and/or under the doctrine of equivalents, one or more claims,
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28


                                                          5

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1    including without limitation at least claim 1 of the ‘167 Patent, by making, using, testing,
2    selling, offering for sale and/or importing into the United States Defendant’s Accused Products.
3
            19.      Defendant has knowledge that its activities concerning the Accused Products
4
     infringe one or more claims of the ‘167 Patent. Further, Defendant provides information and
5
     technical support to its customers, including product manuals, brochures, videos,
6

7    demonstrations, and website materials encouraging its customers to purchase and instructing

8    them to use Defendant’s Accused Products (which are acts of direct infringement of the ‘167
9
     Patent). Alternatively, Defendant knows and/or will know that there is a high probability that
10
     the importation, sale, offer for sale, and use of the Accused Products constitutes direct
11
     infringement of the ‘167 Patent but took deliberate actions to avoid learning of these facts.
12

13          20.      As outlined below, Defendant knew of the ’167 Patent since at least October

14   2014. After learning of the ’167 Patent in October 2014, Defendant infringed the patent through
15
     its use of and improvements made to products including, but not limited to, Netflix Open
16
     Connect. The ‘167 patent provided a strategic advantage to Defendant’s patent portfolio.
17
            21.      In or about October 2014 Lauri Valjakka as CEO of SC Intelligent Holding OY
18

19   sent a letter dated September 29, 2014 via United States Postal Service Certified Mail to

20   Gregory K. Peters, Chief Streaming and Partnerships Officer of Netflix, informing him of the
21
     ’167 Patent. A copy of the letter and receipt of delivery from October 2014 is attached herein as
22
     Exhibit D.
23
            22.      Alternatively, if Defendant claims to not have knowledge of the ’167 Patent by
24

25   receiving the letter dated September 29, 2014, delivered to Netflix’s headquarters, Defendant

26   took action to avoid learning of the notice letter delivered to Defendant’s headquarters and
27
     addressed to one of Defendant’s Chief Officers.
28


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1            23.         On information and belief, Defendant has made no attempt to design around the
2    claims of the ‘167 Patent.
3
             24.         On information and belief, Defendant did not have a reasonable basis for
4
     believing that the claims of the ‘167 Patent were invalid.
5
             25.         On information and belief, Defendant’s Accused Products are available to
6

7    businesses and individuals throughout the United States and in the State of California, including

8    in this District.
9
             26.         Lauri has been damaged as the result of Defendant’s infringement.
10
             27.         The claim chart attached hereto as Exhibit C describes how the elements of an
11
     exemplary claim 1 from the ‘167 Patent are infringed by the Accused Products. This provides
12

13   details regarding only one example of Defendant’s infringement, and only as to a single patent

14   claim. Plaintiff reserves its right to amend and fully provide its infringement arguments and
15
     evidence thereof until its Preliminary and Final Infringement Contentions are later produced
16
     according to the court’s scheduling order in this case.
17
                                                     COUNT II
18

19                            PATENT INFRINGEMENT OF THE ‘102 PATENT

20           28.         Plaintiff restates and realleges the preceding paragraphs of this Complaint as if
21
     fully set forth herein.
22
             29.         Defendant has, under 35 U.S.C. §271(a), directly infringed, and continues to
23
     directly infringe, literally and/or under the doctrine of equivalents, one or more claims,
24

25   including without limitation at least claim 10 of the ‘102 Patent, by making, using, testing,

26   selling, offering for sale and/or importing into the United States Defendant’s Accused Products.
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1            30.         Defendant has knowledge that its activities concerning the Accused Products
2    infringe one or more claims of the ‘102 Patent. Further, Defendant provides information and
3
     technical support to its customers, including product manuals, brochures, videos,
4
     demonstrations, and website materials encouraging its customers to purchase and instructing
5
     them to use Defendant’s Accused Products (which are acts of direct infringement of the ‘102
6

7    Patent). Alternatively, Defendant knows and/or will know that there is a high probability that

8    the importation, sale, offer for sale, and use of the Accused Products constitutes direct
9
     infringement of the ‘102 Patent but took deliberate actions to avoid learning of these facts.
10
             31.         On information and belief, Defendant has made no attempt to design around the
11
     claims of the ‘102 Patent.
12

13           32.         On information and belief, Defendant did not have a reasonable basis for

14   believing that the claims of the ‘102 Patent were invalid.
15
             33.         On information and belief, Defendant’s Accused Products are available to
16
     businesses and individuals throughout the United States and in the State of California, including
17
     in this District.
18

19           34.         Lauri has been damaged as the result of Defendant’s infringement.

20           35.         The claim chart attached hereto as Exhibit C describes how the elements of an
21
     exemplary claim 10 from the ‘102 Patent are infringed by the Accused Products. This provides
22
     details regarding only one example of Defendant’s infringement, and only as to a single patent
23
     claim. Plaintiff reserves its right to amend and fully provide its infringement arguments and
24

25   evidence thereof until its Preliminary and Final Infringement Contentions are later produced

26   according to the court’s scheduling order in this case.
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1                                         PRAYER FOR RELIEF
2           WHEREFORE, Plaintiff Lauri respectfully requests the following relief:
3
            A. A judgment that Defendant has directly infringed either literally and/or under the
4
     doctrine of equivalents and continue to directly infringe the patents-in-suit;
5
            B. A judgment and order requiring Defendant to pay Plaintiff damages under 35 U.S.C.
6

7    § 284 including past damages based on, inter alia, any necessary compliance with

8    35 U.S.C. §287, and supplemental damages for any continuing post-verdict infringement
9
     through entry of the final judgment with an accounting as needed;
10
            C. A judgment that this is an exceptional case within the meaning of 35 U.S.C. § 285
11
     and Plaintiff is therefore entitled to reasonable attorneys’ fees;
12

13          D. A judgment and order requiring Defendant to pay Plaintiff pre-judgment and

14   postjudgment interest on the damages awarded;
15
            E. A judgment and order awarding a compulsory ongoing royalty;
16
            F. A judgment and order awarding Plaintiff costs associated with bringing this action;
17
            and
18

19          G. Such other and further relief as the Court deems just and equitable.

20
     Dated: December 14, 2022                       Respectfully submitted,
21

22                                                  MAHAMEDI IP LAW LLP

23                                                  /s/ Susan S.Q. Kalra
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7                                  Attorneys for Plaintiff
                                   LAURI VALJAKKA
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      PLAINTIFF’S THIRD AMENDED COMPLAINT – CASE NO. 4:22-CV-01490-JST
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1                                    DEMAND FOR JURY TRIAL
2
             Pursuant to FED. R. CIV. P. 38, Plaintiff Lauri Valjakka hereby demands a trial by jury
3
     on all issues so triable.
4
     Dated: December 14, 2022                     Respectfully submitted,
5
                                                  MAHAMEDI IP LAW LLP
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                 PLAINTIFF’S THIRD AMENDED COMPLAINT – CASE NO. 4:22-CV-01490-JST
